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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

TERMAINE CLAIBORNE,

      Plaintiff,

v.                                                       Case No: 8:16-cv-2382-T-30TBM

EMPERORS TAMPA, INC.,

      Defendant.


                                        ORDER

      THIS CAUSE comes before the Court upon the Joint Motion for Approval of

Settlement, Dismissal of this Matter (Dkt. 23). Upon review and consideration, it is

      ORDERED AND ADJUDGED that:

      1.     The Joint Motion for Approval of Settlement, Dismissal of this Matter (Dkt.

23) is GRANTED.

      2.     The settlement agreement is approved.

      3.     This case is dismissed with prejudice.

      4.     The Clerk is directed to close this case.

      DONE and ORDERED in Tampa, Florida, this 10th day of October, 2017.




Copies furnished to:
Counsel/Parties of Record
